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13
                                UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16

17

18 IN RE TESLA, INC. SECURITIES                Case No. 3:18-cv-04865-EMC
   LITIGATION
19                                             DECLARATION OF NATHANIEL
                                               SMITH IN SUPPORT OF
20                                             DEFENDANTS’ ADMINISTRATIVE
                                               MOTION TO SEAL AMENDED
21                                             EXHIBIT 182

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                                                                       3:18-CV-04865-EMC
       DECLARATION OF NATHANIEL SMITH ISO ADMINISTRATIVE MOTION TO SEAL AMENDED EX. 182
      Case 3:18-cv-04865-EMC Document 367-1 Filed 02/08/22 Page 2 of 3




 1 I, Nathaniel Smith, declare as follows:

 2          1.     I am a member of the bar of the District of Columbia and serve as Managing Counsel

 3 for Defendant Tesla, Inc. I have been employed with Tesla since April 2021, and in the course of

 4 my employment have become familiar with Tesla’s treatment of its proprietary business

 5 information, such as that described in this declaration. I have personal knowledge of the matters

 6 described below and I am competent to testify thereto.

 7          2.     I make this declaration pursuant to the Northern District of California Civil Local

 8 Rule 795(c), in support of Defendants’ Administrative Motion To Seal Amended Exhibit 182

 9 (“Motion to Seal Am. Ex. 182”).

10          3.     On January 11, 2022, Plaintiff Glen Littleton (“Lead Plaintiff”), filed a Partial

11 Motion for Summary Judgment (“MSJ”) (ECF No. 352). On February 1, 2022, Defendants filed an

12 Opposition to the MSJ, (ECF No. 365), which contains certain confidential information and relies

13 on certain confidential exhibits and deposition testimony. Accordingly, Defendants also submitted

14 an Administrative Motion to Seal (ECF No. 364), requesting that the Court seal the confidential

15 excerpts in the Opposition, and exhibits and deposition testimony relied on.

16          4.     Defendants now bring the Motion to Seal Am. Ex. 182 to correct one of the

17 confidential exhibits filed in support of the Opposition.

18          5.     In particular, Defendants are refiling an amended Exhibit 182 in condensed form,

19 providing only excerpts of the specific pages cited in the Opposition.

20          6.     The amended Exhibit 182 had been designated “Confidential” under the May 20,

21 2020, Protective Order (ECF No. 255) entered in this case, and contains text messages of third party

22 advisors with Tesla executives, and includes non-public, private business communications regarding

23 reactions to, advice on, planning for, and funding of the Elon Musk’s August 7, 2018 bid to take

24 Tesla private. The personal contact information of numerous private individuals is contained

25 throughout this condensed exhibit.

26          7.     The revelation of the contents of amended Exhibit 182 will cause harm to Tesla by

27 revealing financial, planning, personal, and commercial information that could be misconstrued for

28 improper purposes. Such a release of material, in a piecemeal way, risks that the information will

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 1 be discussed and spread without the proper context and undermine Tesla’s ability to receive a fair

 2 trial. This risk of misinformation spreading is heightened because Tesla is one of the most followed

 3 companies globally and its CEO, Elon Musk, is one of the most followed individuals in the world.

 4 In Tesla’s view, sealing the materials for a brief period of time―until trial―balances the public’s

 5 right to access with Tesla’s ability to preserve the sensitive and confidential nature of its

 6 information.

 7          I declare under penalty of perjury under the laws of the State of California that the foregoing

 8 is true and correct and that this document was executed in Washington, D.C.

 9
     DATED: February 8, 2022
10

11

12                                                 By /s/ Nathaniel Smith
                                                     Nathaniel Smith
13
                                                     ****
14
            I, Kyle K. Batter, am the ECF user whose ID and password are being used to file the above
15
     declaration. In compliance with Local Rule 5-1(h)(3), I hereby attest that Nathaniel Smith has
16
     concurred in the filing of the above declaration.
17
     DATED: February 8, 2022                      QUINN EMANUEL URQUHART &
18                                                SULLIVAN, LLP
19

20
                                                   By /S/ Kyle Batter
21                                                   Kyle Batter

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         DECLARATION OF NATHANIEL SMITH ISO ADMINISTRATIVE MOTION TO SEAL AMENDED EX. 182
